                                 OPINION *Page 2 
{¶ 1} This matter came before the Court upon review of the "Re-Writ of Petition for Habeas Corpus" filed by James C. Bogan.
  {¶ 2} A review of the petition reveals Petitioner has failed to attach the necessary commitment papers in compliance with R.C. 2725.04(D). The Supreme Court has held failure to comply with this requirement is a fatal defect which cannot be cured, "[C]ommitment papers are necessary for a complete understanding of the petition. Without them, the petition is fatally defective. When a petition is presented to a court that does not comply with R.C. 2725.04(D), there is no showing of how the commitment was procured and there is nothing before the court on which to make a determined judgment except, of course, the bare allegations of petitioner's application." Bloss v. Rogers, 65 Ohio St.3d 145, 602
N.E.2d 602. See also, Boyd v. Money, 82 Ohio St.3d 388 wherein the Supreme Court held, "Habeas corpus petitioner's failure to attach pertinent commitment papers to his petition rendered petition fatally defective, and petitioner's subsequent attachment of commitment papers to his post-judgment motion did not cure the defect. R.C. § 2725.04(D)."
  {¶ 3} For this reason, Petitioners' request for "Re-writ of Habeas Corpus is denied.
  {¶ 4} WRIT DENIED. *Page 3 
  {¶ 5} COSTS TO PETITIONER.
Gwin, P.J., Edwards, J. and Delaney, J. concur.
                             JUDGMENT ENTRY
For the reasons stated in the Memorandum-Opinion on file, Petitioner's "Re-Writ of Habeas Corpus" is hereby denied. Costs taxed to Petitioner. *Page 1 